1                                                                     The Honorable David G. Estudillo
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                            UNITED STATES DISTRICT COURT FOR THE
7                             WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
8
9
       UNITED STATES OF AMERICA,                                 NO. CR21-5334-DGE
10
                                Plaintiff,
11                                                               GOVERNMENT’S EXHIBIT LIST
12                         v.
13
       MICHAEL LAYES a/k/a MIKEY
14     DIAMOND STARRETT,
15                              Defendant.
16
             The United States of America, by and through Nicholas W. Brown, United States
17
     Attorney for the Western District of Washington, and Rebecca S. Cohen and Max B.
18
     Shiner, Assistant United States Attorneys for said District, files this Exhibit List
19
     identifying each exhibit that the government may introduce at trial. The Government
20
     reserves the right to supplement, or otherwise revise, the exhibit list with additional
21
     exhibits as necessary prior to and during trial.
22
        Exhibit        Bates                 Description                             Introduced        Admitted
23       No.          Number
24        1           11-355 Search Warrant Photos
                      and 693
25      reserved
26         10                      Remington Express Magnum, 12-guage
27                                 shotgun with serial number C568363M
                                   (BULK)
28
      Government’s Exhibit List                                                   UNITED STATES ATTORNEY
                                                                                 700 STEWART STREET, SUITE 5220
      United States v. Layes a/k/a Starrett, CR21-5334-DGE - 1
                                                                                   SEATTLE, WASHINGTON 98101
                                                                                         (206) 553-7970
1      Exhibit        Bates                     Description                         Introduced         Admitted
        No.          Number
2        11          416-418 MAGPUL MOE M-LOK FOREND
3                            Installation Instructions
          12         469-477 Report of Technical Examination from Daniel
4                            Hoffman, Chief, Firearms Technology
5                            Industry Services Branch, ATF
          13          1617-  Photographs of firearm taken by Daniel
6                     1647   Hoffman, Chief, Firearms Technology
                             Industry Services Branch, ATF
7         14          1594-  ATF Firearms Trace (certified copy)
8                     1616
          15         461-468 National Firearm Registration and Transfer
9                            Records (will revises Bates numbers in
10                           amended exhibit list to reflect certified copies)
          16          1586-  Additional ATF Traces for Other Firearms
11                    1593
          17          1648-  Written communication from Defendant to
12                    1653   Court dated October 12, 2021 (certified copy,
13                           filed at Dkt. 27)
          18          1654-  Written communication from Defendant to
14                    1657   Court dated October 25, 2021 (certified copy,
                             filed at Dkt. 36)
15
          19           702-  Certification and records from Google
16                    1585
17     reserved

18        25         364-388      Certification and Records from Cabela’s LLC
       reserved
19
          30         360-363      ATF Evidence Log
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     Government’s Exhibit List                                                    UNITED STATES ATTORNEY
                                                                                 700 STEWART STREET, SUITE 5220
     United States v. Layes a/k/a Starrett, CR21-5334-DGE - 2
                                                                                   SEATTLE, WASHINGTON 98101
                                                                                         (206) 553-7970
1           DATED this 18th day of November, 2021.
2                                                      Respectfully submitted,
3                                                      NICHOLAS W. BROWN
4                                                      United States Attorney

5                                                      /s/ Rebecca S. Cohen
                                                       REBECCA S. COHEN
6                                                      MAX B. SHINER
7                                                      Assistant United States Attorneys
                                                       700 Stewart Street, Suite 5220
8                                                      Seattle, WA 98101-1271
                                                       Telephone: 206-553-6526
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                                                       E-mail: Rebecca.Cohen@usdoj.gov
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     Government’s Exhibit List                                                    UNITED STATES ATTORNEY
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     United States v. Layes a/k/a Starrett, CR21-5334-DGE - 3
                                                                                   SEATTLE, WASHINGTON 98101
                                                                                         (206) 553-7970
